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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgment in a Criminal Case                                     U.S. DISTRICT COURT
                                                                                                                  N.D. OF ALABAMA


                                  UNITED STATES DISTRICT COURT
                                      Northern District of Alabama
UNITED STATES OF AMERICA

         v.                                                           Case Number 5:16-CR-337-RDP-JHE-1

JEREMY ANDREW BRAY,

       Defendant.


                               AMENDED JUDGMENT IN A CRIMINAL CASE1
                              (For Offenses Committed On or After November 1, 1987)

         The defendant, JEREMY ANDREW BRAY, was represented by Bruce A. Gardner.

        The defendant pleaded guilty to Count 1 of the Information. Accordingly, the defendant is adjudged guilty
of the following count, involving the indicated offense:

Title & Section                              Nature of Offense                                Count Number

18 U.S.C. § 658                    Property Mortgaged or Pledged to Farm Credit Agencies      1

     As pronounced on April 12, 2017, the defendant is sentenced as provided in pages 2 through 6 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant shall pay to the United States a special assessment of $100.00, for Count
1, which shall be due immediately.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

         Signed this        8th         day of May, 2018.



                                                              _______________________________
                                                              R. DAVID PROCTOR
                                                              UNITED STATES DISTRICT JUDGE




  1. Pursuant to the court's order granting the United States' unopposed motion to amend restitution order, (Doc. # 21), the
restitution portion of the Judgment is amended only. All other provisions of the Judgment remain as previously ordered.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 4 - Probation


                                                                                                                     Judgment--Page 2 of 6
Defendant: JEREMY ANDREW BRAY
Case Number: 5:16-CR-337-RDP-JHE-1
                                                 PROBATION
       The defendant is hereby placed on probation for a term of 24 months. The Probation Office shall provide
the defendant with a copy of the standard conditions and any special conditions of probation.
                                                 STANDARD CONDITIONS OF PROBATION

While the defendant is on probation pursuant to this Judgment:
1)   The defendant shall not commit another federal, state or local crime; specifically, the defendant shall not illegally possess a controlled
     substance and shall not own or possess a firearm or destructive device.
2)   The defendant shall not leave the judicial district without permission of the Court or probation officer.
3)   The defendant shall report to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete
     written report within the first five (5) days of each month.
4)   The defendant shall answer truthfully all inquiries by the probation officer, shall provide the probation officer access to requested financial
     information, and shall follow the instructions of the probation officer.
5)   The defendant shall support his or her dependents and meet other family responsibilities.
6)   The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
     acceptable reasons.
7)   The defendant shall notify the probation officer ten (10) days prior to any change in residence or employment. (On change of residence
     to a new jurisdiction of a person convicted either of a crime of violence or of a drug trafficking offense, the Probation Office is responsible
     for complying with the notice provisions of 18 U.S.C. § 4042(b).)
8)   The defendant shall refrain from excessive use of alcohol, except that a defendant while in the Drug and Alcohol Intensive Counseling
     and Aftercare Service Program (DAICASP) (or comparable program in another district) shall consume no alcohol. The defendant shall
     not purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
     substances.
9)   The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
10) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
     a felony unless granted permission to do so by the probation officer.
11) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
     contraband observed in plain view by the probation officer.
12) The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     officer.
13) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the Court.
14) The defendant shall comply with any directions from the probation officer to serve notice of third party risks the defendant may pose,
     and shall cooperate with the officer's efforts to confirm compliance.
15) The defendant shall comply with the probation office's Policies and Procedures Concerning Court Ordered Financial Obligations to satisfy
     the balance of any monetary obligation resulting from the sentence imposed in the case. Further, the defendant shall notify the probation
     office of any change in the defendant's economic circumstances that might affect the defendant's ability to pay a fine, restitution, or
     assessment fee. If the defendant becomes more than 60 days delinquent in payments of financial obligations, the defendant may be
     (a) required to attend a financial education or employment preparation program under the administrative supervision the probation
     officer, (b) placed on home confinement subject to electronic monitoring for a maximum period of 90 days under the administrative
     supervision of the probation officer (with the defendant to pay the cost of monitoring unless the probation officer determines that the
     defendant does not have the ability to do so), and/or (c) placed in a community corrections center for up to 180 days under the
     administrative supervision of the probation officer (with the defendant to pay the cost of subsistence unless the probation officer
     determines that the defendant does not have the ability to do so).
16) Unless excused by a special condition of probation or supervised release in the Judgment or by a subsequent court order, the defendant
     shall comply with 18 U.S.C. § 3563 (a) (probation) or § 3583 (d) (supervised release) regarding mandatory drug testing (with the
     defendant to contribute to the cost of drug testing unless the probation officer determines that the defendant does not have the ability
     to do so). A positive urinalysis may result in the defendant's placement in the probation office's Drug and Alcohol Intensive Counseling
     and Aftercare Service Program (DAICASP) (or comparable program in another district) under the administrative supervision of the
     probation officer.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Probation
                                                                                                                   Judgment--Page 3 of 6
Defendant: JEREMY ANDREW BRAY
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                                     CONTINUATION OF STANDARD CONDITIONS OF PROBATION

(17) Upon imposition of the special condition by the Court or upon a court order entered during the period of probation or supervision for good
     cause shown, the defendant shall be placed in the Drug and Alcohol Intensive Counseling and Aftercare Service Program (DAICASP)
     (or comparable program in another district) based upon a history of drug or alcohol abuse, a positive urinalysis, or evidence of excessive
     use of alcohol. This program includes (a) testing by the probation officer or an approved vendor to detect drug or alcohol abuse; (b) a
     drug treatment program which includes education, individual or group counseling, or residential treatment, provided by the probation
     office or an approved vendor; (c) placement in a community corrections center (halfway house) for up to 270 days; and/or (d) home
     confinement subject to electronic monitoring for up to 180 days. Participation in the program shall be under the administrative
     supervision of the probation officer, and the defendant shall contribute to the costs of participation unless the probation officer
     determines that the defendant does not have the ability to do so.
(18) The defendant may be placed in the probation office's computer restriction/monitoring program (or comparable program in another
     district) by virtue of a special condition of probation or supervised release contained in the Judgment. This program may include the
     following: (a) The defendant shall not possess or use any computer or portable electronic device which has the capability of
     communicating with any other electronic device without the prior approval of the probation officer or the Court. This includes, but is not
     limited to, any computer, personal digital assistant, satellite equipment, cellular telephone, or services such as computer on-line bulletin
     board services and/or internet service. The defendant shall notify the probation officer before altering or effecting repairs to any
     computer he uses. (b) The defendant shall permit the probation officer to conduct periodic, unannounced examinations of any computer
     and computer-related equipment the defendant uses, other than equipment owned by his/her employer that is maintained at a place
     of employment other than the defendant's home. The examination may include the retrieval and copying of all data from the computer,
     and internal or external peripheral equipment, and any software. (c) The defendant, under the administrative supervision of the
     probation officer, shall allow, at his expense, the installation of any hardware/software on any computer system he uses, other than
     equipment owned by his employer, to monitor his/her computer use (and/or to prevent access to prohibited materials), and he/she shall
     submit to such monitoring. The defendant shall consent to the placement of a notice on any computer upon which monitoring
     hardware/software is installed to warn others of the existence of the monitoring. (d) The defendant shall not use any computer or
     computer-related equipment owned by his/her employer except for strict benefit of his employer in the performance of his/her job-related
     duties. (e) The defendant shall consent to third-party disclosure to any employer or potential employer of any computer-related
     restrictions which have been imposed upon him/her. (f) The defendant shall provide the U.S. Probation Office with accurate information
     about all hardware and software which comprise any computer system he/she uses; all passwords used by the defendant, and
     information pertaining to all internet service providers used by the defendant, whether specifically subscribed by the defendant or not.
     The defendant shall provide written authorization for release of information from the defendant's internet service provider. (g) The
     defendant shall furnish his/her personal and business telephone records to the probation officer upon request. Furthermore, the
     defendant shall provide the probation officer with written authorization for release of information from the defendant's telephone service
     provider. (h) The defendant shall not possess or use any type of data encryption or stenography software or technique. The defendant
     shall not alter, delete, or hide records pertaining to computer access, retrieval, or storage.
(19) The defendant shall cooperate in the collection of DNA under the administrative supervision of the probation officer.
(20) If ordered to a period of supervised release after incarceration, the defendant shall report in person, within 72 hours of release from the
     custody of the Bureau of Prisons, to the probation office in the district where the defendant is released.
(21) For a defendant convicted for the first time of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall attend
     a public, private, or private non-profit offender rehabilitation program approved by the court and under the administrative supervision
     of the probation office, if an approved program is available within a 50-mile radius of the defendant's legal residence.
(22) For any defendant required to register under the Sex Offender Registration and Notification Act, the defendant shall comply with the
     terms of the Act under the administrative supervision of the probation officer. Specifically, the defendant, if convicted of a sexual offense
     as described in 18 U.S.C. § 4042(c)(4) shall report the address where the defendant will reside and any subsequent change of residence
     to the probation office, and shall register as a sex offender in any State where the defendant resides, is employed, carries on a vocation,
     or is a student.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 4 (cont'd) - Probation


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Defendant: JEREMY ANDREW BRAY
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                                                SPECIAL CONDITIONS OF PROBATION

While the defendant is on probation pursuant to this Judgment:

1)   The defendant shall not incur any new debts (other than normal debts for utilities and rental expenses, or mortgage payments) or open
     any new lines of credit without permission of the probation officer unless the defendant is in compliance with the payment of any
     monetary obligations ordered.
2)   The mandatory drug testing provisions of 18 U.S.C. § 3563(a) are waived upon the court's finding that the offense of conviction is not
     drug-related, there is no current or past history of substance abuse, and there is a low risk of future substance abuse by the defendant.
3)   The defendant must provide the probation officer with access to any requested financial information and authorize the release of any
     financial information. The probation office may share financial information with the U.S. Attorney’s Office.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 5 - Fine


                                                                                           Judgment--Page 5 of 6
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                                                        FINE


         The defendant shall pay a fine of $2,000.00.

       The Court has determined that the defendant does not have the ability to pay interest, and it is accordingly
ordered that the interest requirement is waived.

         This fine is due and payable immediately.

        If the fine is not paid, the court may sentence the defendant to any sentence which might have been
originally imposed. See 18 U.S.C. § 3614.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 6 - Restitution and Forfeiture


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Defendant: JEREMY ANDREW BRAY
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                                              RESTITUTION AND FORFEITURE


                                                           RESTITUTION

      The court, pursuant to the Victim and Witness Restitution Act, finds that the following are victims of
defendant's criminal conduct and have sustained loss in the indicated amounts and orders restitution by the
defendant as follows:

 Name & address of payees                                                                        Amount


 Colbert County Farmer's Cooperative                                                             $34,595.90
 c/o J. Michael Tanner
 201 N. Water Street
 Tuscumbia, AL 35674
 Lawrence County Exchange, Inc.                                                                   $7,583.94
 c/o Lawrence C. Weaver
 Wilmer & Lee
 200 Market Street, Suite 203 AB
 Decatur, AL 35602

      Payments of restitution, without interest, are to be made to Clerk, U. S. District Court, for transfer to the
payees.

       Restitution is due and payable immediately. Payment is due in full no later than the end of the defendant’s
term of probation. Any payments made during the term of probation, or otherwise, do not preclude the
government from using other assets or income of the defendant to satisfy this restitution obligation.

        Pursuant to 18 U.S.C. § 3664 (i), all nonfederal victims must be paid before the United States is paid. If
there are multiple payees, any payment not made directly to a payee shall be divided proportionately among the
payees named unless otherwise specified here:

Note: The victim's recovery is limited to the amount of their loss and the defendant’s liability for
restitution ceases if and when the victim receives full restitution.
